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                     Exhibit 3
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                            UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF OKLAHOMA

    PETER POE, et al.,
                                         Plaintiffs,
        v.                                                      No. 23-cv-00177-JFH-SH
    GENTNER F. DRUMMOND, et al.,
                                       Defendants.

             SUPPLEMENTAL DECLARATION OF ANGELA C.E. THOMPSON, M.D.,
                                 MPH, FACOG

   I, Angela C.E. Thompson, declare the following:

             1.   I have reviewed the rebuttal affidavits by Drs. Janssen, Adkins, Turban, and

   Antommaria. I offer the following responses, although this is not intended to be comprehensive.

             2.   In paragraph 25, citing paragraph 65 of my report, Dr. Adkins writes that “[t]he

   sweeping suggestion that hormone therapy compromises fertility for all patients is simply incorrect.”

   Nowhere did I make this suggestion. What I wrote in paragraph 65 is specifically for minor children

   and adolescents at early Tanner stage 2 of pubertal development. The children and adolescents

   exposed to endocrine interventions with puberty blockers, followed by cross-sex hormones, risk

   permanent sterilization because gametes are not mature at this stage of pubertal development. Dr.

   Adkins admits this in the next paragraph.

             3.   In paragraph 26, Dr. Adkins admits that “[g]oing directly from puberty blockers to

   gender-affirming hormones does affect fertility” and that “[f]or those whose dysphoria is too severe

   to wait, pre pubertal ovarian and testicular tissue cryopreservation remains experimental and only done

   under research protocols that are carefully monitored.” Dr. Adkins and I agree that endocrine

   interventions at such early pubertal stages of development do risk permanent sterilization, and that the

   fertility preservation options at this stage of pubertal development are experimental. Yet Dr. Adkins

   does not connect the dots. Dr. Adkins has inadvertently outlined the basis for why the burden of

   proof for “gender affirming” hormonal interventions in minors should be so high: because the risks
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   of misdiagnosis can be irreversible, including permanent sterilization in a physically healthy

   child/adolescent. All medical treatment contains side effects; however, the risks of endocrine

   intervention/embodiment goals in this patient population are arguably much more significant because

   the child/adolescent is already in a state of physical health.

           4.      In paragraph 36, Dr. Antommaria states that the ban “treats different medical

   conditions inequitably and Defendants’ experts’ claims highlight the lack of justification for this

   differential treatment.” This is a highly curious statement. Treating different medical conditions

   differently is a bedrock of the entire medical profession. Dr. Antommaria conﬂates

   differences/disorders of sex development (DSDs) with gender dysphoria, but they are entirely

   different diagnoses. One has a physical locus (DSDs) and one is a psychological condition. Treating

   them differently is in no way “inequitable.” Another example is if a patient suffers from anorexia

   nervosa and is severely underweight/malnourished; it is not “inequitable” to deny this patient gastric

   bypass surgery just because the procedure is available for patients suffering from a diagnosis of Class

   III obesity. The diagnoses are different and thus treatments should differ accordingly.

           5.      In paragraph 16, Dr. Janssen claims I have neither the training nor the certiﬁcation to

   assert a professional medical opinion about the importance of keeping a vulnerable child or

   adolescent’s functional bodily integrity intact. As physicians we take an oath, iterations of which call

   us to abstain from “mischief and corruption”; modernly interpreted: “do no harm.” It is well within

   my professional area of expertise as a board-certified obstetrician and gynecologist to assert my

   medical opinion that preserving the physiologic health and functional bodily integrity of minors is

   fundamental and important, especially in regard to reproductive development and future function. A

   physician’s duty is to safeguard healthy bodily integrity especially for the most vulnerable. The

   physiologic developmental processes of juvenile males and females is not a pathological process; it is




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   healthy, and necessary. If the medical profession begins to classify healthy physiologic biological

   phenomena as a “disease” or something to be avoided, it has lost its way.

           6.      In paragraph 9, Dr. Antommaria states that because I cite the ASRM 2019 committee

   opinion about fertility preservation that I “implicitly endorse[] the [ASRM’s] removal of the label

   ‘experimental’ from ovarian tissue cryopreservation (OTC) for individuals who were assigned female

   at birth and have completed puberty.” I do not endorse this, implicitly or otherwise. This statement

   deflects from and obfuscates the basis of my report. Dr. Antommaria is insinuating that the ovaries

   of adult post-menarchal females and pre-menarchal early pubertal females are somehow equivalent in

   this context; they are not. By citing the ASRM 2019 reference I acknowledge, as do the authors, that

   “ovarian tissue cryopreservation is currently the only way to cryopreserve gametes in prepubertal girls”;

   the ASRM committee opinion also specifically references this modality as a means to preserve fertility

   for children and adolescents within the context of cancer therapies (pg. 1027), many of which are toxic

   to gametes. Gender dysphoria has no physical locus, and will not cause the child to physically succumb,

   unlike a cancer diagnosis. Dr. Antommaria ignores my reference to Rowell, which states no less than

   five times that “more research is required” to inform improved care for the pediatric population in

   regard to fertility preservation, because the ovaries in premenarchal children/adolescents are so

   different from postmenarchal adults. What is also unknown is the effect that GnRHa and exogenous

   testosterone will have on the female uterus to ever gestate a pregnancy to term, even if OTC is

   performed prior to this “treatment” regimen for gender dysphoria.

           7.      In paragraph 41, Dr. Antommaria indicates that children as young as ten years of age

   can potentially consent to having their future reproductive capacity terminated, based on a

   questionnaire. To the best of my knowledge, one study does not make a sufficient argument that

   children and adolescents between the ages of 10 and 14 years are able to understand potential

   permanent loss of fertility, especially when other studies have demonstrated those in this age group


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   and even older, to change their minds, as I have outlined in my report (paragraphs 117-120). There

   are wide variations in type and scope of not only fertility preservation counseling, but utilization of

   fertility preservation techniques as well, which I have provided in my report. Such a wide variation

   calls into serious question the efficacy and completeness of informed consent about the risks of

   hormonal intervention.

           8.      In paragraph 43, Dr. Antommaria writes that “[i]nformed consent, based on

   Thompson’s own logic, is available substantially before 18 years of age.” This is erroneous. Just

   because I have opined that informed consent is illusory for children at Tanner stage 2 because fertility

   preservation options are experimental and vastly inaccessible does not mean that I logically must

   believe that informed consent is possible for minors beyond Tanner stage 2. Whether informed

   consent would truly be possible in this realm would involve more than just the availability of non-

   experimental fertility options, after all. But the absence of any realistic way to preserve fertility at

   Tanner stage 2 makes it especially clear that informed consent is illusory at that point.

   I state under penalty of perjury that the foregoing is true and correct.

   Executed on August 7, 2023.


                                                                s/#
                                                                Angela C.E. Thompson




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